                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF WISCONSIN
                                   (GREEN BAY)


 ASHLEY A. OLSEN,
                                                 Case No. 1:22-CV-00234-WCG
             Plaintiff,

 v.
                                                 Honorable Judge William C. Griesbach
 EASTERN ACCOUNT SYSTEM INC.
 d/b/a E-CENTER,

             Defendant.



                 PLAINTIFF’S RESPONSE TO ORDER TO SHOW CAUSE

       AHSLEY A. OLSEN (“Plaintiff”), by and through her undersigned counsel, submits the

following response to the Order to Show Cause [Dkt. 13]:

       1.      On February 25, 2022, Plaintiff filed the instant case against Defendant seeking

redress for violations of the Telephone Consumer Protection Act, 47 U.S.C. §227 et seq., the Fair

Debt Collection Practices Act, 15 U.S.C. §1692 et seq. and the Wisconsin Consumer Act, Wis.

Stat. §427.103 et seq. [Dkt. 1]

       2.      Defendant was duly served on April 4, 2022. [Dkt. 9]

       3.      Defendant’s responsive pleading was due on or before April 25, 2022.

       4.      Defendant has yet to appear or file a responsive pleading.

       5.      On August 16, 2022, the Court entered an Order to Show Cause requiring Plaintiff

to show cause as to why this case should not be dismissed. [Dkkt. 13]

       6.      Plaintiff’s counsel has been in settlement communications with Defendant’s

counsel.



                                                1

           Case 1:22-cv-00234-WCG Filed 08/23/22 Page 1 of 3 Document 15
       7.      On August 23, 2022, the Parties reached a settlement and a Notice of Settlement

was filed. See Dkt. 14.

       8.      Accordingly, Plaintiff respectfully requests that the Court refrain from dismissing

the case and grant the Parties 45 days to consummate the settlement.

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court (1) refrain from

dismissing the case; and (2) grant the Parties through October 7, 2022 to dismiss the case.

Dated: August 23, 2022                               Respectfully Submitted,

                                                     /s/ Mohammed O. Badwan
                                                     Mohammed O. Badwan
                                                     Counsel for Plaintiff
                                                     Sulaiman Law Group, Ltd.
                                                     2500 South Highland Ave., Suite 200
                                                     Lombard, Illinois 60148
                                                     (630) 575-8180 (phone)
                                                     mbadwan@sulaimanlaw.com




                                                2

         Case 1:22-cv-00234-WCG Filed 08/23/22 Page 2 of 3 Document 15
                               CERTIFICATE OF SERVICE

       I hereby certify that on August 23, 2022, I caused a copy of the foregoing document to be

electronically filed with the Clerk of Court using the CM/ECF system which will be sent to all

attorneys of record.


                                                          s/ Mohammed O. Badwan




                                               3

         Case 1:22-cv-00234-WCG Filed 08/23/22 Page 3 of 3 Document 15
